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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,

vs.                                                                CR No. 05-1849 JH

DANA JARVIS,

                       Defendant.



 EMERGENCY SEALED PETITION TO HALT U.S. MARSHALS SERVICE
TRANSFER OF DEFENDANT JARVIS FROM RCC TO TORRANCE COUNTY

         Comes now the Defendant, Dana Jarvis, through counsel, Joe M. Romero, Jr., and

hereby respectfully requests the Court prohibit the U.S. Marshals Service from

transferring Mr. Jarvis from the Regional Correctional Center [hereinafter “RCC”] to the

Torrance County Detention Center in Estancia, New Mexico for the purpose of pre-trial

detention pending trial, or, if such transfer has already occurred, requesting this Court

order the U.S. Marshall’s Service to return Mr. Jarvis to RCC from Torrance County. In

support thereof, Mr. Jarvis states:

                                    I.      BACKGROUND

         This Court recently granted Defendant Jarvis’ Motion For Reconsideration of

Order Denying Motion To End Unconstitutional Conditions of Confinement. See Order

[Doc. No. 654]; Defendant’s Motion [Doc. No. 499]. In its Order, the Court noted that

Defendant Jarvis had been held in continuous administrative segregation for more than

six months. Doc. No. 654 at ¶ 2, FN 1. In rendering its decision, the Court found

“sufficient evidence to demonstrate that the current conditions of administrative

segregation [were] interfering with his Sixth Amendment right to prepare his defense
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with the effective assistance of his counsel.” Doc. No. 654 at ¶ 3. Specifically,        the

Court was persuaded by 1) “undisputed evidence in the record” that the limitations placed

on Defendant Jarvis’ telephone privileges interfered with his Sixth Amendment right to

effective assistance of counsel Doc. No. 654 at ¶ 3, and 2) “uncontradicted” evidence that

the Defendant Jarvis’ conditions of confinement impaired his mental ability to

meaningfully participate in preparing his own defense. Doc. No. 654 at ¶ 4. The Court

also noted that it was the government’s intention to “keep Defendant in administrative

segregation for the foreseeable future, despite the fact that it does not intend to charge

Defendant for the alleged crime that is the basis of his segregation.” [Doc. No. 654 at ¶

4](emphasis added).

       On August 21, 2006, the Court granted Mr. Jarvis’ motion wherein it ordered that

“Defendant be transferred from administrative segregation to the general population at

the Regional Corrections Center, with the same rights as all other inmates in that general

population.” [Doc. No. 654 at ¶ 7]. Mr. Jarvis was just beginning to adjust to his return to

general population when, on Friday, September 1, 2006, Defense Counsel was indirectly

notified by way of a copy of a letter sent by the U.S. Attorney’s Office to the U.S.

Marshals Service that the government had requested that Mr. Jarvis be transferred from

RCC to a facility where his telephone calls can be “effectively monitored.”

       On Tuesday morning, September 5, 2006, Defense Counsel learned that Mr.

Jarvis had already been moved from general population to the U.S. Marshals Service

holding cell in anticipation of his transfer to Torrance County. This decision was made

over a holiday weekend without notice to this Court or input from Defense Counsel upon

the bare assertions by the U.S. Attorney’s Office that it was “impossible” for the




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government to effectively monitor Mr. Jarvis’ telephone calls at RCC in comparison to

“another facility . . . such as Torrance County.” The United States Attorney’s Office and

the United States Marshall’s Service are aware that Mr. Jarvis strongly opposes his

transfer from RCC. Mr. Jarvis respectfully seeks the immediate intervention of this Court

to determine whether this move at the ex parte demand of the United States violates the

intent or letter of this Court’s Order moving Mr. Jarvis out of over six months segregation

only fifteen days ago, in the face of this Court’s findings of impairment of Mr. Jarvis’

Sixth Amendment rights to counsel by the previous actions of the United States.

                            II.    CURRENT SITUATION

       a. The United States’ Alleged Basis for Requiring Mr. Jarvis’ Transfer

       In its August 31, 2006 correspondence to the U.S. Marshals Service, the U.S.

Attorney’s Office asserts that it is unable to effectively monitor Mr. Jarvis’ telephone

calls at RCC system. However, the government has made no showing that this is actually

the case or that another facility can offer a different system that will assist the

government in this matter. This is the sole basis given by the government to seek a

unilateral move of a defendant whose conditions of pre-trial confinement have been the

subject of extensive litigation, which only recently was resolved by this Court’s order.

       The government asserts an inability to monitor Mr. Jarvis’ calls from his present

facility, yet Defense Counsel is in possession of numerous compact discs of discovery

that contain Mr. Jarvis’ monitored conversations made during his detention at RCC –

conversations monitored by the government in its attempt to secure evidence against Mr.

Jarvis regarding the alleged hit man plot. At the minimum within the unique posture of

this complex case, the concerns of the government need to be evaluated by this Court and




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tested in balance against the requirements of the Defendant’s constitutional rights. Such a

pre-transfer hearing is the minimum that Mr. Jarvis seeks.

                       b. Mr. Jarvis’ Arguments Against Transfer

        The transfer of Mr. Jarvis from RCC to Torrance County, or any other facility,

further from geographic access with his counsel, will once again impair Mr. Jarvis’ Sixth

Amendment right to counsel. This Court has already affirmed its authority to monitor

whether pre-trial conditions of confinement are adversely affecting Mr. Jarvis’ ability to

prepare his defense. See Doc. 373, p. 4. In this same Order, this Court directed the

parties to “notify the Court if they are unable to fully resolve this matter in the future.” Id.

        Despite the Order of this Court that the Parties are to dialogue regarding Mr.

Jarvis’ conditions of confinement and notify the Court if agreement cannot be reached,

the government instead chose to unilaterally transfer Mr. Jarvis to an other detention

facility. This transfer will most certainly have deleterious effects on Defendant Jarvis’

Sixth Amendment Rights, especially in light of this Court’s findings that previous acts of

the government have already caused prejudicial constitutional impairment.

        Mr. Jarvis is scheduled for trial April 10, 2007. This Court found the preparation

of Mr. Jarvis’ defense was constitutionally hampered during the over six month pre-trial

incarceration in segregation that already occurred. The practical effect of this six month

impairment is that Mr. Jarvis is not as prepared as he would have been for a quickly

approaching trial, a prejudice to his constitutional rights unambiguously caused by the

government. This previous prejudice is a critical factor for this Court’s attention if the

integrity and fundamental fairness of these proceedings is to remain unassailable.




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          This Court’s budgeting of costs and expenses for this complex defense was

projected based upon defense team access to Mr. Jarvis in Albuquerque. A move further

from counsels’ access will unnecessarily divert time from that remaining to prepare Mr.

Jarvis’ criminal defense, simply in counsel and defense team travel time alone. Each

client visit is estimated to take an additional 2-3 hours if the transfer to Torrance County

is allowed, hours previously budgeted for actual legal work rather than transportation.

These hours are compounded when considered as the defense preparation time of each

attorney, a paralegal, and the investigator. Mr. Jarvis reasonably prefers to review all

filings on his behalf pre-filing if possible, and drive time alone to Torrance County would

virtually eliminate this participation of the Defendant in his own defense. Furthermore,

the attendant travel time and phone costs to maintain defense contact alone will require

yet another diversion of defense counsel time into administrative budgeting for

submission of a revised budget, while the clock ticks down to trial.

          Mr. Jarvis’ transfer to another facility will interfere with and likely destroy Mr.

Jarvis’ psychotherapist/client relationship with his current therapists. The current mental

health experts are believed to be employees of Mr. Jarvis’ current site of incarceration,

RCC. His mental health therapists testified for this Court that Mr. Jarvis has been

adversely affected by the government’s previous segregation of him for months on end,

and to conclude thus, the therapists had to first establish a working relationship with Mr.

Jarvis.    A transfer is expected to terminate this working therapeutic relationship.

Compromising such established relationship is an unnecessary risk of impeding the

defendant’s constitutional right to participate in his own defense, when this case has

already been dangerously prejudiced thus far.




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       The evidence already adduced established that Mr. Jarvis’ six month segregation

caused deterioration in his mental health, which acts to impair his ability to assist his

counsel. Any transfer at this juncture will only serve to interrupt an established

therapist/patient relationship necessary to restore Mr. Jarvis to his pre-segregation state,

and necessary to protect his constitutional right to a fundamentally fair proceeding.

       This case has been designated as a complex case and has voluminous discovery

that requires close contact, in person and by telephone, between the defense team and Mr.

Jarvis. Transferring Mr. Jarvis to a facility located approximately 60 miles from

Albuquerque will unnecessarily impair Defendant’s access to counsel and his realization

of the protections of the various attendant constitutional rights guaranteed to a defendant

in the criminal process.

       WHEREFORE, Defendant Jarvis respectfully requests that the U.S. Marshals

Service be halted from transferring him from RCC to Torrance County, or any other

facility, upon the government’s aforementioned request.

       Mr. Jarvis further requests that a hearing be held to adduce a factual basis

justifying any transfer of the Defendant, such that this Court retains its proper role of

monitoring the pre-trial conditions of confinement of Mr. Jarvis.

                                                             Respectfully submitted


                                                             Electronically Filed
                                                     By:     _______________________
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I hereby certify that a true and correct copy of
the foregoing pleading was mailed to opposing
counsel this 5th day of September 2006.


Electronically Filed
____________________________________
JOE M. ROMERO, JR.




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